                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN



MIGUEL MURILLO, on Behalf of Himself and   Civil Action No.
All Others Similarly Situated,

                                           CLASS ACTION
                        Plaintiff,

vs.

                                           JURY TRIAL DEMANDED
KOHL’S CORPORATION and KOHL’S
DEPARTMENT STORES, INC.,

                        Defendants.


                                     COMPLAINT




        Case 2:16-cv-00196-JPS Filed 02/18/16 Page 1 of 29 Document 1
       Plaintiff Miguel Murillo (“Plaintiff”) alleges the following based upon personal

knowledge as to himself and his own acts and upon information, belief, and investigation by

Plaintiff’s counsel, which included, among other things, a review of public documents,

marketing materials, and announcements made by and/or concerning Kohl’s Corporation and/or

Kohl’s Department Stores, Inc. (collectively, “Kohl’s” or “Defendants”) as to all other matters.

Plaintiff believes that substantial additional evidentiary support exists for the allegations set forth

herein and will be available after a reasonable opportunity for discovery.

                                        INTRODUCTION

       1.      This action seeks to remedy the unfair, deceptive, and unlawful business practices

of Defendants with respect to the marketing, advertising, labeling, and sales of merchandise

offered by Defendants online and in their brick-and-mortar stores.

       2.      Throughout the Class Period (defined below), Defendants misrepresented the

existence, nature, and amount of price discounts on items offered for sale by purporting to offer

specific dollar or percentage discounts from “regular” or “original” “item price” retail prices.

These purported discounts are false and misleading, however, because the “regular” or “original”

item prices advertised by Defendants are fabricated or inflated and do not represent the actual

regular prices for Defendants’ merchandise.        In fact, Defendants did not sell “discounted”

merchandise at the “regular” or “original” item price in meaningful amounts or for meaningful

periods of time. Moreover, the advertised “regular” or “original” item prices for the affected

merchandise were not the lowest price for the same quantity and quality of merchandise.

       3.      As alleged herein, Defendants openly and actively sold the merchandise in

violation of Wisconsin and other state and federal laws.

       4.      Kohl’s admits as much on its own website. Buried deep in Kohl’s website is the




                                          1
            Case 2:16-cv-00196-JPS Filed 02/18/16 Page 2 of 29 Document 1
following discussion in small print of Kohl’s discounting policy:

        “Sale” prices and percentage savings offered by Kohl’s are discounts from Kohl’s
        “Regular” or “Original” prices. The “Regular” or “Original” price of an item is
        the former or future offered price for the item or a comparable item by Kohl’s or
        another retailer. Actual sales may not have been made at the “Regular” or
        “Original” prices, and intermediate markdowns may have been taken.
        “Original” prices may not have been in effect during the past 90 days or in all
        trade areas. Merchandise on this Web site could be offered at the same or lower
        “Sale” prices during future promotional events beginning on or after the last day
        of this advertised event.

[Emphasis added.] Pricing & Product Information, KOHL’S, https://cs.kohls.com/app/answers/
detail/a_id/85 (last visited February 18, 2016).

        5.      The Federal Trade Commission (“FTC”) has described this type of discount price

comparison scheme, such as those used by Defendants, as misleading and deceptive:

        One of the most commonly used forms of bargain advertising is to offer a
        reduction from the advertiser’s own former price for an article. If the former
        price is the actual, bona fide price at which the article was offered to the public on
        a regular basis for a reasonably substantial period of time, it provides a legitimate
        basis for the advertising of a price comparison. Where the former price is
        genuine, the bargain being advertised is a true one. If, on the other hand, the
        former price being advertised is not bona fide but fictitious‒for example, where
        an artificial, inflated price was established for the purpose of enabling the
        subsequent offer of a large reduction‒the “bargain” being advertised is a false
        one; the purchaser is not receiving the unusual value he expects. In such a
        case, the “reduced” price is, in reality, probably just the seller’s regular price.

[Emphasis added.] 16 C.F.R. §233.1(a).

        6.      Wisconsin law prohibits such deceptive pricing practices, such as offering

fictitious original item and sale prices:

        In advertising or otherwise representing the sale or furnishing of any property or
        services combined with or conditioned on the purchase of any other property or
        services described in such advertisement or other representation, it is deceptive
        for a retailer to:

                                                ***
        3.      Mark up the regular price of the property or services which must be
                purchased.

Wis. Stat. §100.18(2)(a)(3).


                                           2
             Case 2:16-cv-00196-JPS Filed 02/18/16 Page 3 of 29 Document 1
        7.      As a result of Defendants’ false and misleading labeling, advertising, and

marketing of supposedly discounted retail prices based on “regular” or “original” prices, Plaintiff

and members of the proposed Classes (defined below) have suffered injury in fact, including

economic damages, and have lost money or property. Specifically, Plaintiff and members of the

Classes have purchased Defendants’ merchandise under the mistaken belief that these products

were actually offered for sale at a meaningful discount from Defendants’ “regular” or “original”

item prices for those items. But for Defendants’ false and misleading advertising and marketing

of their merchandise, Plaintiff and members of the Classes would not have purchased such

merchandise and/or would not have paid as much for such merchandise as they did.

        8.      Plaintiff brings claims on behalf of himself and the proposed Classes for unjust

enrichment and violations of the Wisconsin Deceptive Trade Practices Act, Wis. Stat. §100.18, et

seq. (“WDTPA”) and violations of similar consumer protection statutes of other states. Plaintiff

seeks to permanently enjoin Defendants from using false and misleading claims regarding retail

price comparisons in their packaging, labeling, and advertising. Further, Plaintiff seeks to obtain

restitution and other appropriate relief in the amount by which Defendants were unjustly

enriched as a result of their sales of merchandise offered at a false discount. Plaintiff also seeks

damages as provided for pursuant to the WDTPA. Finally, Plaintiff seeks reasonable attorneys’

fees, pursuant to the WDTPA, as this lawsuit seeks the enforcement of an important right

affecting the public interest and satisfies the statutory requirements for an award of attorneys’

fees.

                                            PARTIES

        9.      Plaintiff Miguel Murillo is a citizen of Wisconsin. During the Class Period,

Plaintiff purchased one or more items from Defendants at a supposed sale or discount price off of




                                           3
             Case 2:16-cv-00196-JPS Filed 02/18/16 Page 4 of 29 Document 1
the “regular” or “original” item prices.     Plaintiff relied on Defendants’ deceptive labeling,

advertising, and marketing scheme in deciding to purchase the merchandise. Were it not for

Defendants’ deceptive labeling, advertising, and marketing, Plaintiff would not have purchased

the merchandise and/or would not have paid as much as he did for the merchandise.

       10.     Defendant Kohl’s Corporation is a Wisconsin company with its principal place of

business located at N56 W17000 Ridgewood Drive, Menomonee Falls, Wisconsin.

       11.     Defendant Kohl’s Department Stores, Inc. is a Delaware company with its

principal place of business located at N56 W17000 Ridgewood Drive, Menomonee Falls,

Wisconsin.

                                JURISDICTION AND VENUE

       12.     This Court has jurisdiction over this action under the Class Action Fairness Act of

2005, 28 U.S.C. §1332(d). The aggregated claims of the individual Class members exceed the

sum or value of $5,000,000, exclusive of interests and costs, and this is a Class action in which at

least one member of each of the Classes is a citizen of a State different from any Defendant.

       13.     This Court has personal jurisdiction over Defendants because Defendant Kohl’s

Corporation is a Wisconsin corporation, and both Defendants are headquartered in Wisconsin,

own and operate retail stores in Wisconsin, systematically and continuously conducted business

in and throughout the State of Wisconsin, and intentionally avail themselves of the markets

within Wisconsin through the promotion, sale, marketing, and distribution of their products.

Moreover, Plaintiff believes that Defendants’ acts, practices, and policies pertaining to the

advertising, marketing, and sale of merchandise at specific dollar or percentage discounts from

“regular” or “original” “item price” retail prices were established in and emanated from

Wisconsin. Further, Defendants’ wrongful conduct, as described herein, foreseeably affects




                                        4
          Case 2:16-cv-00196-JPS Filed 02/18/16 Page 5 of 29 Document 1
consumers in Wisconsin and throughout the United States.

       14.     Venue is proper in this District under 28 U.S.C. §1391(a) because Defendants are

headquartered in this District and maintain sufficient contacts to subject them to personal

jurisdiction if this District were a separate State. Thus, under 28 U.S.C. §1391(c)(2), (d),

Defendants are deemed to reside in this District. As such, venue is proper in this judicial district

under 28 U.S.C. §1391(b)(1) because Defendants are deemed to reside in this District and under

28 U.S.C. §1391(b)(2) because Defendants conduct business in this District and a substantial part

of the acts or omissions giving rise to the claims set forth herein occurred in this District.

                                   FACTUAL ALLEGATIONS

A.     Kohl’s Business and Marketing of Its Products

       15.     Defendant Kohl’s Corporation was organized in 1988. As of January 31, 2015,

Kohl’s operated 1,162 department stores in 49 states, including 37 stores in Wisconsin, and an e-

commerce website (www.kohls.com). Kohl’s sells private label, exclusive, and national brand

apparel, footwear, accessories, beauty, and home products. Kohl’s stores generally carry a

consistent merchandise assortment with some differences attributable to regional preferences.

Kohl’s website includes merchandise which is available in its stores, as well as merchandise

which is available only online.

       16.     Kohl’s merchandise mix includes both national brands and private and exclusive

brands, which are available only at Kohl’s. National brands generally have higher selling prices

than private and exclusive brands. Most of Kohl’s private brands are well-known, established

brands, such as Apt. 9, Croft & Barrow, Jumping Beans, SO and Sonoma Life+Style. Selling

prices for Kohl’s private brands are generally lower than exclusive and national brands.

Exclusive brands are developed and marketed through agreements with nationally recognized




                                        5
          Case 2:16-cv-00196-JPS Filed 02/18/16 Page 6 of 29 Document 1
brands. Examples of Kohl’s exclusive brands include Food Network, Jennifer Lopez, Marc

Anthony, Rock & Republic, and Simply Vera Vera Wang. Exclusive brands have selling prices

which are generally lower than national brands, but higher than private brands.

          17.    National brands comprised 50% of Kohl’s sales in 2014, with private and

exclusive brands comprising the remaining 50%.

          18.    Kohl’s prominently touts its “incredible savings” in its public statements.

“Incredible savings” is one of the five pillars of the current “Greatness Agenda” launched by

Kohl’s in the first quarter of 2014.      The Greatness Agenda is designed to increase sales,

primarily by increasing the number of customers that shop at its stores and online.

          19.    Unfortunately, the “incredible savings” Kohl’s presents to its customers are

illusory. Kohl’s offers its customers purported “savings” that are based on false and inflated

“regular” prices. The “item price” advertised by Kohl’s does not reflect a price at which the

products are routinely, if ever, sold to retail customers by Kohl’s.

          20.    Kohl’s knew, or should have known, that its pricing scheme was intended to

convey false information to consumers, including Plaintiff, about the goods to cause consumers

to purchase such goods believing that they were obtaining items below their actual or regular

prices.

          21.    Buried deep in Kohl’s website is the following discussion in small print of Kohl’s

discounting policy:

          “Sale” prices and percentage savings offered by Kohl’s are discounts from Kohl’s
          “Regular” or “Original” prices. The “Regular” or “Original” price of an item is
          the former or future offered price for the item or a comparable item by Kohl’s or
          another retailer. Actual sales may not have been made at the “Regular” or
          “Original” prices, and intermediate markdowns may have been taken. “Original”
          prices may not have been in effect during the past 90 days or in all trade areas.
          Merchandise on this Web site could be offered at the same or lower “Sale” prices
          during future promotional events beginning on or after the last day of this



                                          6
            Case 2:16-cv-00196-JPS Filed 02/18/16 Page 7 of 29 Document 1
       advertised event.

Pricing & Product Information, KOHL’S, https://cs.kohls.com/app/answers/detail/a_id/85 (last
visited February 18, 2016).

       22.     Defendants’ representations were likely to mislead reasonable consumers into

believing that Defendants’ prices were significantly lower than the prices regularly offered for

those products by Defendants, or offered by other merchants for the identical products, and that

consumers would enjoy significant savings by purchasing those products from Defendants

instead of from other merchants.

       23.     Defendants’ false and/or misleading pricing representations made it more likely

that consumers would purchase particular products from Defendants.            For some products,

Defendants’ misleading claims of a huge discount (in certain instances in excess of 30% off of

“regular” or “original” listed prices) were likely to deceive consumers, who were not inclined to

purchase the product at all, to buy it from Defendants solely because they were misled into

believing that they were getting an unusually good deal.

       24.     Defendants’ misrepresentations about their pricing were likely to mislead

consumers into believing that Defendants’ prices would always be significantly lower than the

prices offered by other merchants for the identical products.

       25.     Plaintiff is informed and believes that the alleged item prices affixed to each item

at Defendants’ stores, at all relevant times throughout the Class Period, were false prices and not

true prices that Defendants had previously employed for such items, or that other merchants had

employed, for any such item, at any time during the time that any such item was marked with the

alleged item price.

       26.     Defendants have engaged in a nationwide-wide, pervasive, and continuous

campaign of falsely claiming that each of their products sold at a far higher price by other



                                        7
          Case 2:16-cv-00196-JPS Filed 02/18/16 Page 8 of 29 Document 1
merchants, in order to induce Plaintiff and all Class members to purchase merchandise at

purportedly marked-down sale prices.

        27.     Plaintiff is informed and believes that Defendants’ false price advertising scheme,

disseminated to consumers via representations on price tags, as well as in-store advertising, print

advertising, and/or internet advertising, is part of a concerted, years-long, pervasive campaign

and has been consistently implemented across all of Defendants’ merchandise at each of its

stores and online. Defendants’ pricing scheme has been prominently displayed directly on the

price tag of each item sold and on receipts for purchased merchandise, with express references to

alleged item prices that have never existed and/or do not, and/or did not then, currently constitute

the prevailing market retail prices for such merchandise.

        28.     If it were not for Defendants’ false price advertising scheme, Plaintiff and the

Classes would not have purchased the merchandise at issue and/or would not have paid as much

for it as they did.

B.      Applicable Price Discounting Laws

        29.     The Federal Trade Commission Act (“FTCA”) prohibits “unfair or deceptive acts

or practices in or affecting commerce.” (15 U.S.C. §45(a)(1)) The FTCA specifically makes it

“unlawful for any person, partnership, or corporation to disseminate, or cause to be disseminated,

any false advertisement.” (15 U.S.C. §52(a))

        30.     Under the FTCA, advertising must be truthful and non-deceptive, advertisers,

such as Defendants, must have evidence to support their claims, and advertisements cannot be

unfair. An advertisement is deceptive, according to the FTC, if it contains a misstatement or

omits information that is likely to mislead consumers acting reasonably under the circumstances

and the statement or omitted information is material, that is, important to a consumer’s decision




                                         8
           Case 2:16-cv-00196-JPS Filed 02/18/16 Page 9 of 29 Document 1
to buy or use the product.

       31.     The FTC has issued regulations describing misleading discount price comparison

schemes, such as those used by Defendants, as deceptive:

       One of the most commonly used forms of bargain advertising is to offer a
       reduction from the advertiser’s own former price for an article. If the former
       price is the actual, bona fide price at which the article was offered to the public on
       a regular basis for a reasonably substantial period of time, it provides a legitimate
       basis for the advertising of a price comparison. Where the former price is
       genuine, the bargain being advertised is a true one. If, on the other hand, the
       former price being advertised is not bona fide but fictitious‒for example, where
       an artificial, inflated price was established for the purpose of enabling the
       subsequent offer of a large reduction‒the “bargain” being advertised is a false
       one; the purchaser is not receiving the unusual value he expects. In such a
       case, the “reduced” price is, in reality, probably just the seller’s regular price.

[Emphasis added.] 16 C.F.R. §233.1(a);

       A former price is not necessarily fictitious merely because no sales at the
       advertised price were made. The advertiser should be especially careful,
       however, in such a case, that the price is one at which the product was openly and
       actively offered for sale, for a reasonably substantial period of time, in the recent,
       regular course of his business, honestly and in good faith‒and, of course, not for
       the purpose of establishing a fictitious higher price on which a deceptive
       comparison might be based. And the advertiser should scrupulously avoid any
       implication that a former price is a selling, not an asking price (for example, by
       use of such language as, “Formerly sold at $___”), unless substantial sales at that
       price were actually made.

16 C.F.R. §233.1(b);

       If the former price is set forth in the advertisement, whether accompanied or
       not by descriptive terminology such as “Regularly,” “Usually,” “Formerly,”
       etc., the advertiser should make certain that the former price is not a fictitious
       one.

[Emphasis added.] 16 C.F.R. §233.1(e);

       Another commonly used form of bargain advertising is to offer goods at prices
       lower than those being charged by others for the same merchandise in the
       advertiser’s trade area (the area in which he does business). This may be done
       either on a temporary or a permanent basis, but in either case the advertised
       higher price must be based upon fact, and not be fictitious or misleading.
       Whenever an advertiser represents that he is selling below the prices being
       charged in his area for a particular article, he should be reasonably certain that the


                                        9
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 10 of 29 Document 1
       higher price he advertises does not appreciably exceed the price at which
       substantial sales of the article are being made in the area‒that is, a sufficient
       number of sales so that a consumer would consider a reduction from the price to
       represent a genuine bargain or saving.

16 C.F.R. §233.2(a); and

       The practices covered in the provisions set forth above represent the most
       frequently employed forms of bargain advertising. However, there are many
       variations which appear from time to time and which are, in the main, controlled
       by the same general principles. For example, retailers should not advertise a retail
       price as a “wholesale” price. They should not represent that they are selling at
       “factory” prices when they are not selling at the prices paid by those purchasing
       directly from the manufacturer. They should not offer seconds or imperfect or
       irregular merchandise at a reduced price without disclosing that the higher
       comparative price refers to the price of the merchandise if perfect. They should
       not offer an advance sale under circumstances where they do not in good faith
       expect to increase the price at a later date, or make a “limited” offer which, in
       fact, is not limited. In all of these situations, as well as in others too numerous to
       mention, advertisers should make certain that the bargain offer is genuine and
       truthful. Doing so will serve their own interest as well as that of the public.

16 C.F.R. §233.5.

       32.    Likewise, Wisconsin law prohibits untrue, deceptive, and misleading pricing

practices:

       No person, firm, corporation or association, or agent or employee thereof, with
       intent to sell, distribute, increase the consumption of or in any wise dispose of any
       real estate, merchandise, securities, employment, service, or anything offered by
       such person, firm, corporation or association, or agent or employee thereof,
       directly or indirectly, to the public for sale, hire, use or other distribution, or with
       intent to induce the public in any manner to enter into any contract or obligation
       relating to the purchase, sale, hire, use or lease of any real estate, merchandise,
       securities, employment or service, shall make, publish, disseminate, circulate, or
       place before the public, or cause, directly or indirectly, to be made, published,
       disseminated, circulated, or placed before the public, in this state, in a newspaper,
       magazine or other publication, or in the form of a book, notice, handbill, poster,
       bill, circular, pamphlet, letter, sign, placard, card, label, or over any radio or
       television station, or in any other way similar or dissimilar to the foregoing, an
       advertisement, announcement, statement or representation of any kind to the
       public relating to such purchase, sale, hire, use or lease of such real estate,
       merchandise, securities, service or employment or to the terms or conditions
       thereof, which advertisement, announcement, statement or representation contains
       any assertion, representation or statement of fact which is untrue, deceptive or



                                        10
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 11 of 29 Document 1
        misleading.

Wis. Stat. §100.18(1);

        In advertising or otherwise representing the sale or furnishing of any property or
        services combined with or conditioned on the purchase of any other property or
        services described in such advertisement or other representation, it is deceptive
        for a retailer to:
                                               ***
        3.     Mark up the regular price of the property or services which must be
        purchased.

Wis. Stat. §100.18(2)(a)(3); and

        In this subsection, “regular price” means the lowest price for the same quantity
        and quality of product or the same services, at which the seller or advertiser of the
        product or services openly and actively sold the product or services in the
        geographic trade area of the advertisement or representation during the seller's or
        advertiser's most recent and regular 30-day course of business.

Wis. Stat. §100.18(2)(c).

C.      Kohl’s Deceptive Pricing Scheme

        33.     Consumers’ Checkbook/Center for the Study of Services (“CSS”) is an

independent, nonprofit consumer organization based in Washington, D.C. Its stated purpose is

“to provide consumers information to help them get high quality services and products at the best

possible prices.” 1

        34.     Beginning in June 2014 and continuing through March 2015, CSS conducted a

survey of seven national retail chains and Amazon.com, tracking prices weekly for six to ten big-

ticket items from each retailer. 2 Most price checks were made online, with spot checking of in-

store prices.

        35.     The CSS survey discovered that for some of the stores, including Kohl’s, “some

1
       About Us, CONSUMERS’ CHECKBOOK, http://www.checkbook.org/about.cfm (last visited
February 18, 2016)
2
       Sale Fail, CONSUMERS’ CHECKBOOK, http://www.checkbook.org/salefail/ (last visited
February 18, 2016)

                                         11
          Case 2:16-cv-00196-JPS Filed 02/18/16 Page 12 of 29 Document 1
of the products for almost all of the weeks we checked were offered at sale prices.” Id. at fn. 2.

        36.     Specifically, the CSS report made the following findings regarding Kohl’s price

discounting scheme:

        Most of the items (eight out of nine items) we checked were offered at sale prices
        more than half the time. Four of the items were always or almost always offered
        at sale prices. Kohl’s purported discounts are less than those Sears reports.
        Although its practices are not as egregious as Sears’ practices, Checkbook.org
        believes Kohl’s pricing policies are also deceptive and often constitute
        misleading advertising techniques.

[Emphasis added.] Id. at fn. 2.

        37.     One item tracked by CSS was offered at the “regular” price only once in the

course of the study:




        38.     As the CSS report put it, at Kohl’s, “the sales often never end.” [Emphasis

added.] Id. at fn. 2.

D.      Plaintiff’s Purchases of Purported Sales Items

        39.     Upon checkout, Kohl’s provides consumers, including Plaintiff, with sales

receipts containing the purported “Item Price” and the actual sales price. Also on the receipt,

Kohl’s prominently alerts the consumer, in all-caps and bolded font, of the “TOTAL SAVED.”

The “total saved” amount is frequently circled in pen by the checkout cashier, in order to further

highlight the purported savings given to the consumer.


                                         12
          Case 2:16-cv-00196-JPS Filed 02/18/16 Page 13 of 29 Document 1
       40.      On November 22, 2015, Plaintiff shopped at a Kohl’s store in Madison,

Wisconsin. He purchased three items. The total purchase price was $112.85. The receipt listed

the “TOTAL SAVED” as $38.03. The purchase is broken down in the chart below:

      Description             Item Price     Sale Price           Difference          Amount paid
Women’s running shoes            75.00          69.99                5.01                 69.99
Junior bottom                    40.00          21.99                18.01                21.99
Junior bottom                    30.00          14.99                15.01                14.99
                                                             TOTAL SAVED                  38.03

       41.      On November 13, 2015, Plaintiff shopped at a Kohl’s store in Madison,

Wisconsin. He purchased four items. The total purchase price was $71.70. The receipt listed

the “TOTAL SAVED” as $73.04. The purchase is broken down in the chart below:

                                                                               Amount paid (after
  Description       Item Price     Sale Price           Difference
                                                                             further 15% discount)
Juniors sweater       30.00          14.99                15.01                       12.74
Juniors sweater       30.00          14.99                15.01                      12.74
Misses active         45.00          29.99                15.01                      25.49
Junior bottom         36.00          19.99                16.01                      16.99
                                                   TOTAL SAVED                       73.04

       42.      On November 25, 2015, Plaintiff shopped at a Kohl’s store in Madison,

Wisconsin. He purchased three items. The total purchase price was $89.64. The receipt listed

the “TOTAL SAVED” as $73.03. The purchase is broken down in the chart below:

                                                                                 Amount paid (after
    Description         Item Price       Sale Price        Difference
                                                                               further 15% discount)
Sterling silver            60.00           19.99             40.01                      16.99
Junior collection          38.00           24.99             13.01                      21.24
Women’s athletic
                           60.00           54.99              5.01                     46.74
shoes
                                                        TOTAL SAVED                    73.03



                                       13
        Case 2:16-cv-00196-JPS Filed 02/18/16 Page 14 of 29 Document 1
       43.     In addition to the purchases detailed above, Plaintiff made numerous other

purchases of products from Defendants during the Class Period, which were advertised, labeled,

and sold at purported discounts from an “original” or “regular” item price. Upon information

and belief, the purported “original” or “regular” item prices for the merchandise purchased by

Plaintiff were not the true original or regular item prices, and the purported discount and savings

from those item prices were therefore false, misleading, and deceptive.

       44.     As a result of Defendants’ conduct detailed herein, Plaintiff has been injured by

Defendants’ violations of the aforementioned provisions of federal and state law.

                     DAMAGES TO PLAINTIFF AND THE CLASSES

       45.     Plaintiff purchased merchandise from Defendants based on Defendants’ pricing,

advertising, and marketing that the merchandise represented significant savings over the “Item

Price,” as described above.

       46.     Plaintiff and the members of the Classes would not have purchased the

merchandise from Kohl’s at all, or would not have paid as much for the merchandise, were it not

for the purported “savings” adverted to by Defendants.

                              CLASS ACTION ALLEGATIONS

       47.     Plaintiff brings this action individually and on behalf of the following Class,

pursuant to Federal Rules of Civil Procedure, Rule 23, (the “Nationwide Class”):

       All individuals residing in the United States and its territories who purchased one
       or more items from Defendants advertised at a discount from an original “item
       price” any time between February 18, 2012 and the present (the “Nationwide
       Class Period”).

       48.     Plaintiff also brings this action individually and as a Class action, pursuant to Fed.

R. Civ. P. 23, on behalf of the following subclass of persons who made purchases within the

State of Wisconsin (the “Wisconsin Class”):



                                        14
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 15 of 29 Document 1
       All individuals who purchased one or more items from Defendants within the
       State of Wisconsin advertised at a discount from an original “item price” any time
       between February 18, 2012 and the present (the “Wisconsin Class Period”)
       (together with the Nationwide Class Period, the “Class Period”).

       49.     Plaintiff reserves the right to redefine the Classes prior to certification.

       50.     Excluded from the Classes are Defendants, any of their parent companies,

subsidiaries, and/or affiliates, their officers, directors, legal representatives, and employees, any

co-conspirators, all governmental entities, and any judge, justice, or judicial officer presiding

over this matter.

       51.     This action is brought and may properly be maintained as a Class action, pursuant

to Fed. R. Civ. P. 23. This action satisfies the numerosity, typicality, adequacy, predominance,

and superiority requirements of those provisions.

       52.     The Classes are so numerous that the individual joinder of all of its members is

impracticable. Due to the nature of the trade and commerce involved, Plaintiff believes that the

total number of Class members is in the thousands and that the members of the Classes are

geographically dispersed across the United States. While the exact number and identities of the

Class members are unknown at this time, such information can be ascertained through

appropriate investigation and discovery.

       53.     Common questions of law and fact exist as to all members of the Classes and

these common questions predominate over any questions affecting only individual members of

the Classes. These common legal and factual questions, which do not vary from Class member

to Class member, and which may be determined without reference to the individual

circumstances of any Class member, include, but are not limited to, the following:

               a.      whether Defendants violated provisions of the FTCA and federal

                       regulations through the pricing, advertising, and marketing of their


                                        15
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 16 of 29 Document 1
                      merchandise;

               b.     whether Defendants’ pricing, advertising, and marketing of their

                      merchandise was false and misleading;

               c.     whether Defendants’ conduct constitutes a violation of the WDTPA;

               d.     whether Plaintiff and the Classes are entitled to compensatory damages

                      and, if so, the nature of such damages;

               e.     whether Plaintiff and the Classes are entitled to restitutionary relief; and

               f.     whether Plaintiff and the Classes are entitled to injunctive relief.

       54.     Plaintiff’s claims are typical of the claims of the members of the Classes.

Plaintiff and all members of the Classes have been similarly affected by Defendants’ common

course of conduct, since they all relied on Defendants’ representations concerning their

merchandise and purchased one or more items based on those representations.

       55.     Plaintiff will fairly and adequately represent and protect the interests of the

Classes. Plaintiff has retained counsel with substantial experience in handling complex Class

action litigation. Plaintiff and his counsel are committed to vigorously prosecuting this action on

behalf of the Classes and have the financial resources to do so.

       56.     A Class action is superior to other available methods for the fair and efficient

adjudication of the present controversy. Individual joinder of all members of the Classes is

impracticable. Even if individual members of the Classes had the resources to pursue individual

litigation, it would be unduly burdensome to the courts in which the individual litigation would

proceed. Individual litigation magnifies the delay and expense to all parties in the court system

of resolving the controversies engendered by Defendants’ common course of conduct. The Class

action device allows a single court to provide the benefits of unitary adjudication, judicial




                                        16
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 17 of 29 Document 1
economy, and the fair and efficient handling of all Class members’ claims in a single forum. The

conduct of this action as a Class action conserves the resources of the parties and of the judicial

system and protects the rights of the Classes. Furthermore, for many, if not most, a Class action

is the only feasible mechanism that allows an opportunity for legal redress and justice.

       57.     This action is maintainable as a Class action under Fed. R. Civ. P. 23(b)(1)

because individual actions by Class members would create: (1) inconsistent or varying

adjudications that would establish incompatible standards of conduct for Defendants; and/or (2)

adjudications that, as a practical matter, would be dispositive of the interests of other Class

members not parties to the adjudications, and would substantially impair or impede the ability of

such non-party Class members to protect their interests.

       58.     This action is maintainable as a Class action under Fed. R. Civ. P. 23(b)(2)

because Defendants have acted or refused to act on grounds generally applicable to the Classes,

thereby making appropriate final injunctive relief respecting the Classes as a whole.

       59.     This action is maintainable as a Class action under Fed. R. Civ. P. 23(b)(3)

because the common questions of law and fact identified above, without limitation, predominate

over any questions affecting only individual members, and a Class action is superior to other

available methods for the fair and efficient adjudication of this controversy.

                                      CAUSES OF ACTION
                                FIRST CLAIM FOR RELIEF
                   (Violation of Wisconsin Deceptive Trade Practices Act,
                 Wis. Stat. §100.18, et seq., on Behalf of the Nationwide Class,
                   or in the Alternative, on Behalf of the Wisconsin Class)

       60.     Plaintiff realleges each and every allegation contained above as if fully set forth

herein and, to the extent necessary, pleads this cause of action in the alternative.

       61.     Plaintiff brings this claim individually and on behalf of members of the



                                        17
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 18 of 29 Document 1
Nationwide Class under Wisconsin law.

       62.     Plaintiff purchased Kohl’s merchandise for his own personal use.

       63.     The acts and practices of Defendants, as described above, deceived Plaintiff and

members of the Nationwide Class, as described herein, and have resulted, and will result in,

damages to Plaintiff and members of the Nationwide Class.

       64.     By committing the acts alleged above, Defendants have violated the WDTPA.

       65.     Plaintiff and Nationwide Class members suffered injuries caused by Defendants’

misrepresentations because: (a) they were induced to purchase a product they would not have

otherwise purchased if they had known that Kohl’s merchandise was not, among other things,

being offered at a significant discount; and/or (b) they paid a price premium due to the false and

misleading pricing, advertising, and marketing of Kohl’s merchandise.

       66.     Plaintiff and the Nationwide Class members are entitled to, pursuant to Wis. Stat.

§100.18(11)(b), recovery of damages in the amount of twice the pecuniary loss suffered, together

with the payment of costs and attorneys’ fees.

       67.     In the alternative, Plaintiff brings this claim individually, as well as on behalf of

the Wisconsin Class, under Wisconsin law.

                               SECOND CLAIM FOR RELIEF
                    (Unjust Enrichment on Behalf of the Nationwide Class,
                    or in the Alternative, on Behalf of the Wisconsin Class)

       68.     Plaintiff realleges each and every allegation contained above as if fully set forth

herein and, to the extent necessary, pleads this cause of action in the alternative.

       69.     Plaintiff brings this claim individually, as well as on behalf of members of the

Nationwide Class, under Wisconsin law. Although there are numerous permutations of the

elements of the unjust enrichment cause of action in the various states, there are few real




                                        18
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 19 of 29 Document 1
differences. In all states, the focus of an unjust enrichment claim is whether the defendant was

unjustly enriched. At the core of each state’s law are two fundamental elements – the defendant

received a benefit from the plaintiff and it would be inequitable for the defendant to retain that

benefit without compensating the plaintiff. The focus of the inquiry is the same in each state.

Since there is no material conflict relating to the elements of unjust enrichment between the

different jurisdictions from which Class members will be drawn, Wisconsin law applies to the

claims of the Nationwide Class.

       70.     In the alternative, Plaintiff brings this claim individually, as well as on behalf of

the Wisconsin Class, under Wisconsin law.

       71.     At all times relevant hereto, Defendants deceptively priced, marketed, advertised,

and sold merchandise to Plaintiff and the Classes.

       72.     Plaintiff and members of the Classes conferred upon Defendants non-gratuitous

payments for merchandise that they would not have, if not for Defendants’ deceptive pricing,

advertising, and marketing.       Defendants accepted or retained the non-gratuitous benefits

conferred by Plaintiff and members of the Classes with full knowledge and awareness that, as a

result of Defendants’ deception, Plaintiff and members of the Classes were not receiving a

product of the quality, nature, fitness, or value that had been represented by Defendants and

reasonable consumers would have expected.

       73.     Defendants have been unjustly enriched in retaining the revenues derived from

purchases of merchandise by Plaintiff and members of the Classes, which retention under these

circumstances is unjust and inequitable because Defendants misrepresented, among other things,

that their merchandise was being offered at a significant discount, which caused injuries to

Plaintiff and members of the Classes because they paid for and/or paid a price premium due to




                                        19
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 20 of 29 Document 1
the misleading pricing and advertising.

       74.     Retaining the non-gratuitous benefits conferred upon Defendants by Plaintiff and

members of the Classes under these circumstances made Defendants’ retention of the non-

gratuitous benefits unjust and inequitable. Thus, Defendants must pay restitution to Plaintiff and

members of the Classes for unjust enrichment, as ordered by the Court.

                                   THIRD CLAIM FOR RELIEF
                         (Violations of the Consumer Fraud Laws on Behalf
                             of the Classes in States with Similar Laws)

       75.     Plaintiff realleges each and every allegation contained above as if fully set forth

herein and, to the extent necessary, pleads this cause of action in the alternative.

       76.     Plaintiff brings this Count individually under the laws of Wisconsin and on behalf

of all other persons who purchased merchandise in states having similar laws regarding

consumer fraud and deceptive trade practices.

       77.     Plaintiff and each of the other members of the Classes are consumers, purchasers,

or other persons entitled to the protection of the consumer protection laws of the state in which

they purchased merchandise from Kohl’s.

       78.     The consumer protection laws of the state in which Plaintiff and the other

members of the Classes purchased Kohl’s merchandise declare that unfair or deceptive acts or

practices, in the conduct of trade or commerce, are unlawful.

       79.     Forty states and the District of Columbia have enacted statutes designed to protect

consumers against unfair, deceptive, fraudulent, and unconscionable trade and business practices

and false advertising and that allow consumers to bring private and/or class actions. These

statutes are found at:

               a.        Alabama Deceptive Trade Practices Act, Ala. Code §8-19-1, et seq.;




                                        20
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 21 of 29 Document 1
    b.    Alaska Unfair Trade Practices and Consumer Protection Act, Alaska Stat.

          §45.50.471, et seq.;

    c.    Arkansas Deceptive Trade Practices Act, Ark. Code Ann. §4-88-101, et

          seq.;

    d.    California Consumers Legal Remedies Act, Cal. Civ. Code §1750, et seq.

          and California’s Unfair Competition Law, Cal. Bus. & Prof. Code §17200,

          et seq.;

    e.    Colorado Consumer Protection Act, Colo. Rev. Stat. §6-1-101, et seq.;

    f.    Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. §42-110a, et

          seq.;

    g.    Delaware Consumer Fraud Act, Del. Code Ann. tit. 6, §2511, et seq.;

    h.    District of Columbia Consumer Protection Procedures Act, D.C. Code

          §28-3901, et seq.;

    i.    Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §501.201, et

          seq.;

    j.    Georgia Fair Business Practices Act, Ga. Code Ann. §10-1-390, et seq.;

    k.    Hawaii Unfair and Deceptive Practices Act, Haw. Rev. Stat. §480-1, et

          seq. and Hawaii Uniform Deceptive Trade Practices Act, Haw. Rev. Stat.

          §481A-1, et seq.;

    l.    Idaho Consumer Protection Act, Idaho Code Ann. §48-601, et seq.;

    m.    Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill.

          Comp. Stat. Ann. 505/1, et seq.;

    n.    Kansas Consumer Protection Act, Kan. Stat. Ann. §50-623, et seq.;




                               21
Case 2:16-cv-00196-JPS Filed 02/18/16 Page 22 of 29 Document 1
    o.    Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. §367.110, et seq.

          and Kentucky Unfair Trade Practices Act, Ky. Rev. Stat. Ann. §365.020,

          et seq.;

    p.    Louisiana Unfair Trade Practices and Consumer Protection Law, La. Rev.

          Stat. Ann. §51:1401, et seq.;

    q.    Maine Unfair Trade Practices Act, Me. Rev. Stat. Ann. tit. 5, §205A, et

          seq. and Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat.

          Ann. tit. 10, §1211, et seq.;

    r.    Massachusetts Regulation of Business Practice and Consumer Protection

          Act, Mass. Gen. Laws Ann. ch. 93A, §1, et seq.;

    s.    Michigan Consumer Protection Act, Mich. Comp. Laws §445.901, et seq.;

    t.    Minnesota Prevention of Consumer Fraud Act, Minn. Stat. 0§325F.68, et

          seq. and Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat.

          §325D.43, et seq.;

    u.    Mississippi Consumer Protection Act, Miss. Code Ann. §75-24-1, et seq.;

    v.    Missouri Merchandising Practices Act, Mo. Rev. Stat. §407.010, et seq.;

    w.    Montana Unfair Trade Practices and Consumer Protection Act of 1973,

          Mont. Code Ann. §30-14-101, et seq.;

    x.    Nebraska Consumer Protection Act, Neb. Rev. Stat. §59-1601, et seq. and

          Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. §87-

          301, et seq.;

    y.    Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. §598.0903, et

          seq.;




                               22
Case 2:16-cv-00196-JPS Filed 02/18/16 Page 23 of 29 Document 1
    z.    New Hampshire Consumer Protection Act, N.H. Rev. Stat. §358-A:1, et

          seq.;

    aa.   New Jersey Consumer Fraud Act, N.J. Stat. Ann. §56:8-1, et seq.;

    bb.   New Mexico Unfair Practices Act, N.M. Stat. Ann. §57-12-1, et seq.;

    cc.   New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law §349, et

          seq.;

    dd.   North Dakota Consumer Fraud Act, N.D. Cent. Code §51-15-01, et seq.;

    ee.   Ohio Consumer Sales Practices Act, Ohio Rev. Code Ann. §§1345.02,

          1345.03 and Ohio Admin. Code §§109:4-3-02, 109:4-3-03, 109:4-3-10;

    ff.   Oklahoma Consumer Protection Act, Okla. Stat. tit. 15, §751, et seq.;

    gg.   Oregon Unfair Trade Practices Act, Or. Rev. Stat §646.608(1)(e), (g);

    hh.   Rhode Island Unlawful Trade Practices And Consumer Protection Act,

          R.I. Gen. Laws §6-13.1-1, et seq.;

    ii.   South Carolina Unfair Trade Practices Act, S.C. Code Ann. §39-5-10, et

          seq.;

    jj.   South Dakota’s Deceptive Trade Practices and Consumer Protection Law,

          S.D. Codified Laws §37-24-1, et seq.;

    kk.   Tennessee Consumer Protection Act, Tenn. Code Ann. §47-18-101, et

          seq.;

    ll.   Vermont Consumer Fraud Act, Vt. Stat. Ann. tit. 9, §2451, et seq.;

    mm.   Washington Consumer Protection Act, Wash. Rev. Code §19.86.010, et

          seq.;

    nn.   West Virginia Consumer Credit and Protection Act, W. Va. Code §46A-6-




                               23
Case 2:16-cv-00196-JPS Filed 02/18/16 Page 24 of 29 Document 1
                       101, et seq.; and

               oo.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. §100.18, et seq.

         80.   Kohl’s merchandise constitutes products to which these consumer protection laws

apply.

         81.   In the conduct of trade or commerce regarding the pricing, advertising, marketing,

and sale of their merchandise, Defendants engaged in one or more unfair or deceptive acts or

practices, including, but not limited to, uniformly representing to Plaintiff and each member of

the Classes by means of the pricing and advertising of their merchandise that it was, among other

things, being offered at a significant discount, as described herein.

         82.   Defendants’ representations and omissions were false, untrue, misleading,

deceptive, and/or likely to deceive.

         83.   Defendants knew, or should have known, that their representations and omissions

were false, untrue, misleading, deceptive, and/or likely to deceive.

         84.   Defendants used or employed such deceptive and unlawful acts or practices with

the intent that Plaintiff and members of the Classes rely thereon.

         85.   Plaintiff and the other members of the Classes did so rely.

         86.   Plaintiff and the other members of the Classes purchased merchandise sold by

Defendants who misrepresented the magnitude of the price discounts offered for the

merchandise.

         87.   Plaintiff and the other members of the Classes would not have purchased Kohl’s

merchandise at all, or would not have paid as much as they did, but for Defendants’ deceptive

and unlawful acts.

         88.   As a result of Defendants’ conduct, Plaintiff and the other members of the Classes




                                         24
          Case 2:16-cv-00196-JPS Filed 02/18/16 Page 25 of 29 Document 1
sustained damages in amounts to be proven at trial.

       89.     Defendants’ conduct showed complete indifference to, or conscious disregard for,

the rights and safety of others such that an award of punitive and/or statutory damages is

appropriate under the consumer protection laws of those states that permit such damages to be

sought and recovered.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment against Defendants as follows:

       A.      That the Court certifies each of the Classes under Rule 23 of the Federal Rules of

Civil Procedure and appoint Plaintiff as Class Representative and his attorneys as Class Counsel

to represent the members of the Classes;

       B.      That the Court declares that Defendants’ conduct violates the statutes and laws

referenced herein;

       C.      That the Court preliminarily and permanently enjoins Defendants from

conducting business through the unlawful, unfair, or deceptive business acts or practices, untrue

and misleading labeling and marketing, and other violations of law described in this Complaint;

       D.      That the Court orders Defendants to conduct a corrective advertising and

information campaign advising consumers that their merchandise does not have the

characteristics, uses, benefits, and quality Defendants have claimed;

       E.      That the Court orders Defendants to implement whatever measures are necessary

to remedy the unlawful, unfair, or deceptive business acts or practices, untrue and misleading

advertising, and other violations of law described in this Complaint;

       F.      That the Court orders Defendants to notify each and every individual and/or

business, who purchased their merchandise, of the pendency of the claims in this action, in order




                                        25
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 26 of 29 Document 1
to give such individuals and businesses an opportunity to obtain restitution from Defendants;

       G.       That the Court orders Defendants to pay restitution to restore to all affected

persons all funds acquired by means of any act or practice declared by this Court to be an

unlawful, unfair, or a deceptive business act or practice, untrue or misleading labeling,

advertising, and marketing, plus pre- and post-judgment interest thereon;

       H.       That the Court orders Defendants to disgorge all monies wrongfully obtained and

all revenues and profits derived by Defendants, as a result of their acts or practices, as alleged in

this Complaint;

       I.       That the Court awards damages to Plaintiff and the Classes;

       J.       That the Court enters an Order awarding costs, expenses, and reasonable

attorneys’ fees; and

       K.       That the Court grants such other and further relief as may be just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all causes of action so triable.

DATED: February 18, 2016                      SCOTT+SCOTT, ATTORNEYS AT LAW, LLP

                                              /s/ Joseph P. Guglielmo
                                              Joseph P. Guglielmo
                                              The Chrysler Building
                                              405 Lexington Avenue, 40th Floor
                                              New York, NY 10174
                                              Telephone: 212-223-6444
                                              Facsimile: 212-223-6334
                                              jguglielmo@scott-scott.com

                                              Erin Green Comite
                                              SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
                                              156 South Main Street
                                              P.O. Box 192
                                              Colchester, CT 06415
                                              Telephone: 860-537-5537
                                              Facsimile: 860-537-4432
                                              ecomite@scott-scott.com


                                           26
            Case 2:16-cv-00196-JPS Filed 02/18/16 Page 27 of 29 Document 1
                            Joseph Pettigrew
                            SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
                            707 Broadway, Suite 1000
                            San Diego, CA 92101
                            Telephone: 619-233-4565
                            Facsimile: 619-233-0508
                            jpettigrew@scott-scott.com

                            E. Kirk Wood
                            WOOD LAW FIRM, LLC
                            P. O. Box 382434
                            Birmingham, AL 35238-2434
                            Telephone: 205-908-4906
                            Facsimile: 866-747-3905
                            ekirkwood1@bellsouth.net


                            Counsel for Plaintiff and the Proposed Class




                               27
Case 2:16-cv-00196-JPS Filed 02/18/16 Page 28 of 29 Document 1
                                CERTIFICATE OF SERVICE

       I hereby certify that on February 18, 2016, I caused the foregoing to be electronically

filed with the Clerk of Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List, and I hereby certify that

I caused the foregoing document or paper to be mailed via the United States Postal Service to the

non-CM/ECF participants indicated on the Manual Notice List.


                                             /s/ Joseph P. Guglielmo
                                             Joseph P. Guglielmo
                                             SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
                                             The Chrysler Building
                                             405 Lexington Avenue, 40th Floor
                                             New York, NY 10174
                                             Telephone: 212-223-6444
                                             Facsimile: 212-223-6334
                                             jguglielmo@scott-scott.com




                                        28
         Case 2:16-cv-00196-JPS Filed 02/18/16 Page 29 of 29 Document 1
